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July 2, 2025

VIA ECF

Honorable Ona T. Wang
United States District Court
500 Pearl Street
New York, NY 10007

Re:       In re OpenAI, Inc. Copyright Infringement Litig., 1:25-md-3143-SHS-OTW
                  This Document Relates To: The Class Cases (Authors Guild v. Open AI Inc., No.
                  1:23-cv-08292 (S.D.N.Y); Alter v. Open AI Inc., No. 1:23-cv-10211 (S.D.N.Y))
          Joint Status Letter Regarding MDL ECF No. 153/154 and Authors Guild ECF No. 377/365

Dear Magistrate Judge Wang:

Pursuant to the Court’s Order (MDL ECF No. 270) and instructions at the discovery status
conference on June 25, 2025, Microsoft and Class Plaintiffs write to update the Court on the
parties’ discussions on the matters addressed in paragraphs I.2 and I.3 of the Court’s Order.

MDL ECF No. 153/154: On June 27, 2025, Microsoft provided Ms. Salinas with documents
hitting on the “LibGen Search Term” (see ECF No. 175). Pursuant to Microsoft’s request, Ms.
Salinas has not shared those documents with any other lawyer. The parties met and conferred on
July 1, and Plaintiffs made some additional requests of Microsoft, which Microsoft either has
already addressed or will address in short order. The parties will also continue to confer about
whether any of the documents should be produced in the case.

Authors Guild ECF No. 377/365: The parties also met and conferred on July 1 regarding
Plaintiffs’ position in the discovery conference chart (MDL ECF No. 215-2 at 5) and the Court’s
guidance at the hearing. Plaintiffs intend to provide Microsoft with a draft Rule 30(b)(6) deposition
notice. To the extent there is disagreement about the scope, the parties will work to resolve such
disagreements. Plaintiffs additionally stated they may request production of additional documents
related to this issue, and the parties will continue to meet and confer about any such forthcoming
request.

Respectfully submitted,

/s/ Jared B. Briant
Jared B. Briant
